  Case 8:20-cv-00055-DSF-AFM Document 26 Filed 10/04/21 Page 1 of 2 Page ID #:192

 1                                                                           JS-6
 2
 3
 4
 5
 6
 7
 8
                            UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
   ADRIENNE LIGGINS, individually and           ) Case No. 8:20-cv-00055-DSF (AFMx)
11 on behalf of others similarly situated and   )
   aggrieved,
                Plaintiff,                      )
12
           v.                                   ) ASSIGNED TO JUDGE DALE S.
13                                              ) FISCHER, COURTROOM 7D
   GMRI, INC., A Florida corporation doing      )
14 business as Olive Garden Italian             )
   Restaurant; OLIVE GARDEN                            ORDER
15 HOLDINGS LLC, a Florida limited              )
   liability company; OLIVE GARDEN,             )
16 LLC, a California limited liability          )
   Company; DARDEN RESTAURANTS,                 )
17 INC., a Florida corporation; OLIVE
   GARDEN ITALIAN RESTAURANT –                  )
18 MANHATTAN BEACH, an entity of                )
   unknown form; and OLIVE GARDEN               )
19 ITALIAN RESTAURANT –
   HUNTINGTON BEACH, an entity of               )
20 unknown form; and DOES 1 through 50,         )
   inclusive,                                   )
21
                Defendants.                     )
22
23
24
25
26
27
28
 Case 8:20-cv-00055-DSF-AFM Document 26 Filed 10/04/21 Page 2 of 2 Page ID #:193

 1                                           ORDER
 2
 3 IT IS SO ORDERED THAT THE STIPULATION IS APPROVED.
 4        Having read and considered the foregoing stipulation, the Court hereby orders the
 5 dismissal, with prejudice, of any and all of Plaintiff’s claims against all named
 6 Defendants. Each party will bear their own attorneys’ fees and costs incurred in this
 7 action, notwithstanding the provisions of Federal Rule of Civil Procedure 54(d).
 8        IT IS SO ORDERED.
 9 DATED: October 4, 2021
10
                                           Honorable Dale S. Fischer
11                                         UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 1
